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                    UNITED STATES BANKRUPTCY COURT FOR THE
                       EASTERN DISTRICT OF PENNSYLVANIA

                                                  :   Chapter 11
 In re:                                           :   Case No. 15-11648 (AMC)
                                                  :   (Jointly Administered)
 Mayur Patel, et al.,                             :
                                                  :   Hearing Date: August 22, 2018
                          Debtors.                :   Hearing Time: 11:00 a.m.
                                                      Hearing Place: Courtroom #5
                                                  :

                 MOTION FOR THE ENTRY OF A FINAL DECREE AND TO CLOSE
                            THE DEBTOR’S CHAPTER 11 CASE

           Mayur Patel (“Patel”) and SJM Limited, LLC (“SJM” or in conjunction with Patel, the

 “Debtors”), by and through its counsel, Obermayer Rebmann Maxwell & Hippel LLP, hereby

 moves this Court for an entry of a final decree and an order closing the Debtors’ Chapter 11

 bankruptcy proceeding (the “Motion”); and in support thereof aver as follows:

           I.      JURISDICTION AND VENUE

           1.      This Court has jurisdiction over this Motion pursuant to 28 U.S.C. § 1334. This

 matter is a core proceeding within the meaning of 28 U.S.C. § 157(b)(2)(A).

           2.      The statutory predicates for the relief requested herein are Federal Rules of

 Bankruptcy Procedure (the “Bankruptcy Rules”) 3022 and Local Rules for the United States

 Bankruptcy Court for the Eastern District of Pennsylvania 9014-3.

           II.     BACKGROUND

           3.      On March 10, 2015 (the “Patel Petition Date”), Patel filed a voluntary petition for

 relief under Chapter 11 of the United States Bankruptcy Code , 11 U.S.C. §§ 101 et seq. (as

 amended, the “Bankruptcy Code”), in the United States Bankruptcy Court for the Eastern

 District of Pennsylvania (the “Bankruptcy Court”).



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           4.   On March 19, 2015 (the “SJM Petition Date”), SJM filed a voluntary petition for

 relief under Chapter 11 of the Bankruptcy Code.

           5.   On May 6, 2015, this Court entered an Order granting joint administration of the

 Debtors.

           6.   On December 4, 2017, the Bankruptcy Court entered an Order confirming (the

 “Confirmation Order”) the Second Amended Joint Plan of Reorganization of the Debtors dated

 October 16, 2017 (the “Plan”).

           7.   Patel has made his Initial New Value Contribution and January 2018 Payments.

           8.   Patel is in the processes of liquidating the Strawberry Street Condo and believes

 he will make the distribution from the proceeds by year end.

           9.   As provided in Fed. R. Bankr. P. 3022, “[a]fter an estate is fully administered in a

 Chapter 11 reorganization case, the court, on its own motion or on motion of a party in interest

 shall enter a final decree closing the case.” The 1991 Advisory Committee notes to this Rule

 states that:

                Entry of a final decree closing a Chapter 11 Case shall not be
                delayed solely because the payments required by the plan have not
                completed. Factors that the court should consider in determining
                whether the estate has been fully administered include (1) whether
                the order confirming the plan has become final, (2) whether
                deposits required by the plan have been distributed, (3) whether the
                property proposed by the plan to be transferred has been
                transferred, (4) whether the debtor or the successor of the debtor
                under the plan has assumed the business or the management of the
                property dealt with by the plan, (5) whether payments under the
                plan have commenced, and (6) whether all motions, contested
                matters, and adversary proceedings have been finally resolved.

 Advisory Committee Notes (1991); see also, In re Omega Optical, Inc., 476 B.R. 157, 167

 (Bankr. E.D.Pa. 2012).



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           10.   Here, the order confirming the Plan has become final; disbursements to claimants

 have been made pursuant to the Plan; and pursuant to the Plan the only remaining contested

 matter is against Jatin Patel, including, but not limited to, the adversary proceeding pending

 before the Court under adversary proceeding no. 17-89-amc and the nondischargeability

 adversary proceeding pending in connection with Jatin Patel’s Chapter 7 proceeding in the U.S.

 Bankruptcy Court for the District of New Jersey adversary proceeding no. 17-1554-MBK

 (collectively, the “Jatin Action”); and collection of the settlement proceeds resolving the $30,000

 claim against Sechin Patel in the amount of $250.00/month payable on a monthly basis for 120

 months until the claim against Sechin Patel is paid in full (the “Sechin Action” and collectively

 with the Jatin Action, the “Assigned Causes of Action”) were transferred and assigned to Toroni

 Real Estate Partnership.

           11.   The Debtors reasonably believe that any outstanding reports will be filed prior to

 a hearing on the Motion.

           12.   The Debtors aver that any outstanding payments owed to the Office of the United

 States Trustee will be made prior to or contemporaneously with the hearing on the Motion.

           13.   The Debtors respectfully submit that with the exception of the distribution to

 general unsecured creditors, which is imminent, and the final payment of the Trustee’s fees, the

 estate of the Debtors has been fully administered and the Plan has been substantively

 consummated.

           14.   The Debtors, therefore, requests that this Honorable Court enter a final decree

 closing the bankruptcy case.




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           WHEREFORE, the Debtors respectfully request this Honorable Court enter a Final

 Decree and close the Chapter 11 Cases of the Debtors, and for such other and further relief as

 this Court deems just.

                                              Respectfully submitted,


 Dated: July 10, 2018                    By: /s/ Michael D. Vagnoni
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